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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS                   2UIkPIAR 18              AM 11:39
                                   AUSTIN DIVISION
                                                                             CLERK L.        I   SIR1       URi
                                                                            WESTER           .          ciF IEXAS


CAROLYN BARNES,                                   §
              PLAINTIFF,                          §
                                                  §
V.                                                §        CAUSE NO. 1:12-CV-028-LY
                                                  §
TRAVIS COUNTY SHERIFF'S                           §
DEPARTMENT, ET AL.,                               §
               DEFENDANTS.                        §


                                             re       90
       Before the court is the above styled and numbered cause filed by Plaintiff pro            se   Carolyn

Barnes on January 9, 2012. On February 10, 2014, the court rendered an order that,                inter alia,



provided that Barnes must file an amended complaint not to exceed 30 pages, in a single, concise

document complying with Rule 8's pleading requirement, on or before Friday, March 14, 2014. The

order also provided that absent the filing of an amended complaint in compliance with Rule 8 by that

deadline, the court would dismiss Barnes's claims against all defendants. Also before the court is

Barnes's Motion for Copies of Relevant Pleadings and Motion to Extend Time filed February 26,

2014 (Clerk's Doc. No. 49). By her motion, Barnes requests "more time.          . .   due to her harsh

captivity by 'external forces," as well as copies of her original 569 page complaint.

       In May 2012, the Magistrate Judge first directed Barnes to file an amended complaint on or

before May 31, 2012. Barnes requested, and was granted, two extensions of that deadline. On July

16, 2012, Barnes filed a 267-page Third Amended Complaint. Barnes supplemented her complaint

with a 248-page "Brief and Heightened Pleadings in Support of Plaintiff's Third Amended Original

Complaint," which, along with other supplements, brought the complaint to 569 pages. Due to the

voluminous nature of the pleadings, the Magistrate Judge, on January 22, 1013, directed Barnes to
replead her claims in compliance with Rule            8   no later than March 1, 2013. The Magistrate Judge

reminded her that failure to follow the court's directive could result in the dismissal of
                                                                                                her ease. In

                                                                                           and Due
response, Barnes filed a document titled "Plaintiff's Motion for a More Definite Statement
                                                                                            or Deficient and
Process Notice of the Exact Reasons the Third Amended Complaint is Defective

Motion to Extend Time to Amend after Receipt of Due Process Notice of How the Third
                                                                                    Amended

                                                                                    P. 8." In his
Complaint is Not a 'Coherent and Concise Complaint' or How it Violates Fed. R. Civ.

Report and Recommendation rendered April 25, 2013, the Magistrate Judge recommended
                                                                                    that this

                                                                                          with a
court dismiss with prejudice Barnes's claims against all defendants for failure to comply

court's order.         See   Fed. R. Civ. P. 41(b) (authorizing a court to dismiss a case for "failure to the

plaintiff.   .   .   to comply with the[] federal rule or any order of court.").
                                                                                                         this
        On September 30, 2013, to give Barnes ample opportunity to cure the procedural defect,

court vacated its order accepting and adopting the Magistrate Judge's Report and Recommendation,
                                                                                             that
granted Barnes's request for an extension of time to file an amended complaint, and provided
                                                                                         on or
Barnes must file a single, concise document complying with Rule 8's pleading requirement
                                                                                       February
 before October 23, 2013. Due to returned mail, Barnes requested another extension. On
                                                                                             to replead
 10, 2014, the court granted the extension, warning her that this was her "final opportunity

                                                                                         her
 her claims in a meaningful fashion." Should she fail to comply, the court would dismiss
                                                                                               she
 complaint with prejudice under Rule 41(b). In her February 26, 2014 response, Barnes concedes
                                                                                         not filed an
 received the court's February 10 order but fails to comply. As of this date, Barnes has
                                                                                       to comply
 amended complaint. Instead, she asks for another extension. Barnes has, again, failed

 with Rule 8's pleading requirement and an order of the court.
       Having considered the applicable law and the case file, the court concludes that Barnes's

claims against all defendants should be dismissed for failure to comply with the court's order. See

Fed. R. Civ. P. 41(b); see also Bryson   v.   United States, 553 F.3d 402 (5th Cir. 2008). Accordingly,

       IT IS HEREBY ORDERED that Plaintiff Barnes's Motion for Copies of Relevant

Pleadings and Motion to Extend Time (Clerk's Doc. No. 49) is DENIED.

       IT IS FURTHER ORDERED that Plaintiff Barnes's claims alleged against all defendants

in this action are DISMISSED WITH PREJUDICE.

       SIGNED this                 day of March, 2014.




                                                          TED STA   S   DISTRICT JUDGE




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